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DISTRICT COURT, ADAMS COUNTY, COLORADO
1100 Judicial Center Drive Brighton, CO 80601

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JOHN M' VETTER» P'am“ff’ Transa¢¢ion 1D:30401986

VS.

ANDREW ROTH, Individually and in his capacity as
a Deputy Sheriff for Adams County, Colorado,
JOHN DOE, Individually and in his capacity as a
Deputy Sheriff for Adams County, Colorado,

 

DOUGLAS DARR in his capacity as Sherifi' of A COURT USE ONLY A
Adams County, Colorado, and “SKIP” FISHER,
ALICE NICHOL AND LARRY PACE, in their Case No. 2010 CV

capacities as Commissioners for Adams County,
Co|orado and ADAMS COUNTY, COLORADO
Defendants. Div.: Ctrm.:

 

Attorney for Plaintiff:

David R. Juarez, Registration #13304

11154 N. I-Iuron Street, Suite 207

Northglenn, Colorado 80234

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Email: davidiuarez(agnmcols.com

 

 

VERIFIED COMPLAINT

 

 

 

COMES NOW the Plaintiff, individually, and by and through his attorney, David R.
Juarez, and submits the following Complaint in support of his claims against the above named
Defendants as follows:

JURISDICTION

l. The Court has jurisdiction over the parties and subject matter of this action as at

all times pertinent hereto, Plaintiff was a resident of Adams County, Colorado.

2. The Defendants conduct business in Adarns County, Colorado as represented by

 

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the Commissioners of Adams County, Colorado, the Sheriff of Adams County,
Colorado herein alter “County Defendants,” Andrew Roth, individually and in his
capacity as a Deputy Sheriff of Adams County, Colorado and John Doe,
individually and in his capacity as a Deputy Sheriff of Adams County, Colorado.

3. The incident giving rise to this cause of action occurred in Adams County,
Colorado on April 8, 2009.

4. That notice pursuant to C.R.S. §24~10-109, was provided to the Defendants on
July 10, 2009 and July 13, 2009, within one-hundred eighty (180) days after the
incident giving rise to this cause of action. More than ninety days have elapsed
since the receipt of Notice of Plaintiff’s claims.

GENERAL ALLEGATIONS

 

5. On or about April 8, 2009, at approximately 4:15 p.m. in the vicinity of the public
trail system path near the 2200 block of West 64"‘ Avenue in unincorporated
Adams County, Plaintiff was contacted by Defendant, Andrew Roth acting in his
official capacity as a Deputy Sheriff for Adams County, Colorado

6. Plaintiff was walking on the path when he was stopped and detained by Deputy
Roth. Deputy Roth lacked reasonable suspicion to believe that Plaintiff had
committed any offense Nonetheless, Deputy Roth detained Plaintiff over his
objection.

7. Deputy Roth secured identification from Plaintiff and thereupon claimed that
there were active warrants for failure to pay traffic fines outstanding against

Plaintiff and advised Plaintif’f that he was being placed under arrest.

 

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8. Plaintif`f denied having outstanding warrantsl Deputy Roth directed Plaintit`f to
turn around and put his hands behind his back and leaned Plaintiff over the front
of the Officer’s vehicle. Deputy Roth became physically aggressive and violent
with Plaintit`t`. After having placed the Plaintiff` in handcuffs, Deputy Roth threw
the Plaintif`f to the ground forcing his head against the ground with his forearm.
Thereafter, Deputy Roth struck Plaintif`f` on the side of his face, breaking his jaw.

9. Deputy Roth then placed Plaintit’f` into his vehicle and transported Plaintif`f to the
Adams County Sheriff‘s Department for processing for his arrest.

10. At the Adams County Detention Facility Plaintifi` was spitting blood and unable to
speak without extreme pain. Plaintiff insisted that he needed medical attention
and requested to be seen by the nurse on staff at the Adams County Detention
Facility.

1 l. Plaintiff was denied access to any medical treatment Defendant John Doe acting
in his official capacity as a Deputy Sheriff` f`or Adams County or as an employee
of Douglas Darr Sheriff for Adams County advised Plaintiti` that since he was not
being booked into the jail, he was not eligible for medical assistance PlaintiH`
was thereafter released on a Summons, without posting bond, by staff at the
Adams County Detention Facility.

12. Plaintif`f` was released into the streets of the City of Brighton, Colorado, after eight
o’clock at night, without the means to communicate with anyone to provide him
assistance Plaintif`f was released without any financial resources Plaintiff’s
money was confiscated from him at the Adarns County Detention Facility.

13. Def`endant suffered a broken jaw which required surgical repair, abrasions and

 

 

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extreme pain.
FIRST CLA!M FOR RELIEF

(Against Defendant Adams County Deputy Sheriff Andrew Roth)
Plaintifi` incorporates paragraphs one through thirteen above as if fully set forth
herein.
Plaintiff was assaulted by Deputy Sherifi` Andrew Roth.
As a result of the assault by Deputy Andrew Roth, Plaintiff suffered injuries
including, a broken jaw, abrasions to the side of his face, extreme pain and
suffering
That Deputy Roth’s conduct was willhd, intentional, or reckless and without just
provocation on the part of the Plaintit`f.
That as a result of the assault, Plaintif`f` was unable to work and lost employment
opportunities Plaintiff suffered emotional trauma became fearful of police and
for his safety and seeks damages in an amount to be proven at trial.
That as a result of the injuries suffered to Plaintiff during the assault by Deputy
Andrew Roth, Plaintiff had to undergo emergency medical procedures and
subsequent surgery to treat the fractured jaw and has incurred damages therefrom
in an amount to be demonstrated at trial..

SECOND CLAIM FOR RELIEF

 

(Against All Defendants)
Plaintiff incorporates paragraphs one through nineteen above as if fully set forth

herein.

That Sheriff Douglas Darr, Adams County and the Commissioners for Adams

 

 

 

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County, Colorado, hereinafter “County Dcfendants” were Defendant Andrew
Roth’s employers and directly responsible for his hiring and supervision County
Defendants were negligent in hiring, retaining, and failing to properly supervise
Deputy Sheriff Andrew Roth.
That the County Defendants permitted Deputy Roth the use of an official Adams
County Vehicle to patrol on an individual basis without direct supervision
That the County Defendants failed to properly train, supervise and administer
Deputy Sheriff` Andrew Roth who they knew or should have known had a
propensity toward inappropriate behavior to private citizens.
That during the course of the arrest of Plaintiff, Defendant Roth acted in a willful
and wanton manner in applying excessive force causing injuries to Plaintiti`.
That during the course of the arrest of Plaintiff`, Defendant Roth used excessive
force.
That as a direct and proximate result of the County Defendants failure to properly
train, supervise or administer Deputy Andrew Roth, the Deputy either
intentionally or recklessly or negligently caused injuries to the Plaintiff during the
course of an arrest whether lawful or unlawful that resulted in Plaintiff"s injuries
and damages

THIRD CLAIM FOR RELIEF

(Against All Defendants)

Plaintiff incorporates paragraphs one through twenty-six above as if fully set forth
herein.

That during the course of the arrest of the Plaintitf, Plaintiff was denied his

 

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constitutional rights to be free of unlawful arrest and free from the use of
excessive force. Plaintiff was denied his rights to liberty and to be free from cruel
and unusual punishment through the direct acts of Deputy Sheriff Andrew Roth
and the indirect conduct of the County Def`endants.

That as a result of Defendants’ conduct, Plaintiff was charged with a state law
offense that required him to defend such charges As a result of the charges,
Plaintiff incurred attorney fees, lost employment opportunities and other damages
in an amount to be demonstrated at trial.

That as a result of Defendants’ conduct PlaintiiT suffered injuries and other
damages in an amount to be proven at trial.

That the acts of Defendants was willful and wanton and deprived Plaintiff of his
rights as guaranteed by the Colorado and United States Constitutions.

That the Defendants conduct violates the Plaintift’s rights as guaranteed by
Article II, Section III, Vll, XX and XXVof the Colorado Constitution and the 4"`,
5"`, 8“‘, ll‘h and 14'h Amendments to the United States Constitution. Defendants
conduct is contrary to the protections afforded Plaintift’s civil rights by 42 U.S. C.
§ 1983.

That as a result of the Defendants’ conduct, Plaintiti` is no longer secure in his
person, is now afraid of law enforcement authorities, and continues to have
ongoing fears with regard to his personal safety and liberty while a resident of
Adams County, Colorado.

FQQRTH CLAIM FOR RELIEF

(Against All Defendants)

 

 

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Plaintiif incorporates paragraphs one through thirty-three above as if fully set
forth herein.
That during the course of his arrest, Plaintiff repeatedly requested medical
assistance and was denied medical attention
That the conduct of Defendants in denying medical attention to Plaintiff then
releasing him into the City of Brighton late at night without allowing him to make
a phone call and without money was willful and wanton and a violation of his
rights as guaranteed by the Colorado and United States Constitution.
That Defendants Deputy Sheriff Andrew Roth, Deputy Sheriff John Doe and the
County Defendants, through their conduct violated Plaintiff’ s rights as guaranteed
by the U.S. and Colorado Constitution and is contrary to the protections afforded
to his civil rights by 42 U.S.C. Section 1983.
During the course of his arrest, and his release, Plaintifi` was subjected to cruel
and unusual punishment, the denial of proper medical treatment and as a result
suffered damages thereby.
FIFTH CLAIM FOR RELIEF

(Punitive Damages for Willful and Wanton Acts- All Defendants)
Plaintiff incorporates paragraphs one through thirty-eight above as if hilly set
forth.
That Defendants Deputy Sherit`f Andrew Roth, John Doe and the County
Defendants, engaged in willful and wanton conduct of denying the Plaintiff
medical care and treatment, releasing him out in the street without medical care

and treatment and subjecting him to the application of excessive physical force

 

 

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during his arrest
41. As a result of the willful and wanton conduct of Defendants, Plaintiff is entitled to
exemplary damages in an amount to be proven at trial.
PLAINTIFF REQUESTS THIS MATTER BE HEARD BEFORE A JURY OF SIX
PERSONS.
WHEREFORE, Plaintiff prays this Court enter judgment in his favor and against all
Defendants, in an amount to be demonstrated at trial, plus costs of bringing this action and
attorney fees as provided by state law and 42 USC § 1988.

Dated: 3 `Z ?'//7 O.-Q /?M~“~»
David R. Jua~ez, #13304 ’

Attorney for Plaintifi`
Plaintifi’s Address:
John Vetter
2461 W. 55th Avenue
Denver, Colorado 80221
VERIFICATION
STATE OF COLORADO )
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I, swear/affirm under oath that l have read the foregoing document and that the information

provided therein is true and correct to the best of my knowledge and belie
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